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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

 ROSY GIRON DE REYES; JOSE
 DAGOBERTO REYES; FELIX ALEXIS
 BOLANOS; RUTH RIVAS; YOVANA
 JALDIN SOLIS; ESTEBAN RUBEN MOYA
 YRAPURA; ROSA ELENA AMAYA; and
 HERBERT DAVID SARAVIA CRUZ,
                                                     Civil Action No. 1:16cv00563-TSE-TCB
                Plaintiffs,

        vs.

 WAPLES MOBILE HOME PARK LIMITED
 PARTNERSHIP; WAPLES PROJECT
 LIMITED PARTNERSHIP; and A.J.
 DWOSKIN & ASSOCIATES, INC.,

                Defendants.


       NOTICE OF PLAINTIFFS’ MOTION TO FILE DOCUMENTS UNDER SEAL

        Pursuant to Local Civil Rule 5, Plaintiffs Rosy Giron De Reyes, Jose Dagoberto Reyes,

 Felix Alexis Bolaños, Ruth Rivas, Yovana Jaldin Solis, Esteban Ruben Moya Yrapura, Rosa Elena

 Amaya, and Herbert David Saravia Cruz (“Plaintiffs”) are filing a Motion to File Documents under

 Seal (“Motion”).    In support of this Motion, Plaintiffs are submitting a Non-Confidential

 Memorandum in Support of Plaintiffs’ Motion to File Documents under Seal, along with this

 Notice and a Proposed Order.

        This document serves as notice to the public that Plaintiffs, by counsel, have moved the

 Court to seal from public disclosure Exhibits 1 and 3 to Plaintiffs’ Memorandum in Opposition

 to Defendants’ Motion for Summary Judgment (the “Opposition Brief”), as well as portions of

 Plaintiffs’ Opposition Brief which reference the parties’ prior settlement agreement and quote




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 sealed exhibits that are already part of the record. A brief description of the content of the

 documents Plaintiffs request to file under seal is as follows:

            •   Ex. 1: Plaintiff Rosa Elena Amaya’s confidential responses to Defendants’

                interrogatories.

            •   Ex. 3: Confidential excerpts from the deposition transcript of Defendants’

                designated 30(b)(6) deponent.1

        The Opposition Brief also either quotes from or references the following confidential

 documents:

            •   Dkt. No. 138, Ex. 21: Confidential excerpts from the deposition transcript of

                Defendants’ designated 30(b)(6) deponent.

            •   Dkt. No. 138, Ex. 27: Confidential excerpts from the deposition transcript of

                Carolina Easton.

            •   Dkt. No. 138, Ex. 43: Confidential Consumer Reports and CoreLogic SafeRent

                Training Manual.

            •   Confidential settlement agreement.

        Objections to this Motion to File Documents Under Seal should be filed in the Civil Section

 of the Clerk’s Office of this Court. This Notice will be posted for a minimum of 48 hours.




        1
             Although Defendants did not mark their deposition transcripts as confidential,
 Plaintiffs file these transcripts under seal out of an abundance of caution.


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 Respectfully submitted,


                      //s//                           Dated: October 25, 2019
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 Counsel for Plaintiffs




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 25th day of October, 2019, I caused the foregoing to be filed

 electronically with the Clerk of the Court using CM/ECF, which will then send a notification of

 such filing to all counsel of record.




                      //s//                                    Dated: October 25, 2019
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